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    19
    20                            UNITED STATES DISTRICT COURT
    21                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
    22 ENTROPIC COMMUNICATIONS,                       Civil Action No. 2:23-cv-01047-JWH-KES
       LLC,
    23          Plaintiff,                            MEMORANDUM OF POINTS AND
                                                      AUTHORITIES IN SUPPORT OF
    24           v.                                   COX’S RULE 12(C) MOTION FOR
                                                      INVALIDITY UNDER 35 U.S.C. § 101.
    25 COX COMMUNICATIONS, INC.,
       COXCOM, LLC, AND COX                           Hearing Date:        July 21, 2023
    26 COMMUNICATIONS CALIFORNIA,                     Hearing Time:        9:00 a.m.
       LLC,                                           Courtroom:           9D
    27         Defendants.                            Judge:               Hon. John W. Holcomb
    28                                                DEMAND FOR JURY TRIAL

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     1 I.        INTRODUCTION
     2           The claims of U.S. Patent Nos. 10,432,422 (the “’422 Patent”) and 9,838,213
     3 (the “’213 Patent”) are invalid for claiming patent-ineligible subject matter—
     4 subject matter similar to what courts have consistently held is nothing more than an
     5 abstract idea: communicating and sending data between nodes in a network, and
     6 either aggregating that data as in the ’422 Patent, or allocating resources for
     7 transmissions based on that data as in the ’213 Patent.
     8           Entropic’s complaint fails to address these shortcomings, conclusorily
     9 pleading that the patents are “directed to patent-eligible subject matter pursuant to
    10 35 U.S.C. § 101.” Dkt. 1 ¶¶ 330, 364. This is completely deficient because both
    11 patents claim abstract ideas without any additional inventive steps. The ’422 Patent
    12 claims forming an aggregated data traffic list by requesting and receiving
    13 information from nodes within a network about scheduled data transmissions. The
    14 ’213 Patent claims requesting and receiving information from network nodes to
    15 verify their availability to provide resources for a data transmission within the
    16 network, and if available, allocating resources for the data transmission, but if
    17 unavailable, calculating and transmitting the maximum data rate.
    18           The ’422 and ’213 Patents are prime examples of the types of claims that are
    19 patent ineligible—methods for routine communications between conventional
    20 nodes in a network, serving only the function of aggregating or analyzing the
    21 information contained in those communications. If these claims are allowed to
    22 stand, the ’422 Patent would preempt the entire field of creating a list of scheduled
    23 transmissions in a network and the ’213 Patent would preempt the entire field of
    24 allocating resources for data transmissions among nodes within a network.
    25 II.       BACKGROUND
    26           Entropic filed suit against three Cox defendants on February 10, 2023,
    27 alleging infringement of twelve patents, including the ’422 and ’213 Patents. See
    28 Dkt. 1. The ’422 Patent is a continuation of the ’213 Patent. Therefore, because the
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     1 two patents share the same specification and figures, citations are to the ’213 Patent
     2 throughout this memorandum for ease of reference.
     3           A.      The L2ME and QoS Manager Proposed Solutions
     4           The ’422 and ’213 Patents assert that when multiple devices are connected to
     5 a home network, the various applications on that network compete for resources,
     6 which can cause a decrease in the quality of service. ’213 Patent, 1:32-2:3. Without
     7 a system for coordinating the network nodes, the distribution of bandwidth becomes
     8 a problem. Id. “Various solutions to solve this problem have been proposed,”
     9 including “high-level network controllers” and “high-level applications that set
    10 priority.” Id. at 2:4-12. These prior art solutions purportedly required computational
    11 power and expenses that were not practical or accessible to regular home users. Id.
    12           According to the specification—although not recited in the claims—the
    13 proposed solution was a Layer 2 Management Entity, through which network nodes
    14 communicated to indicate their availability to transmit or receive a guaranteed
    15 quality of service, and a QoS manager, which admitted the guaranteed quality of
    16 service flows. Id. at Abstract, 3:7-9. The specification describes this solution as
    17 “relat[ing] in general to . . . a low-level messaging framework in a network.” Id. at
    18 3:46-48. This “low-level framework may be thought of as an extension to the
    19 Media Access Control (MAC) sub-layer or the physical (PHY) network layer and is
    20 referred to as a ‘Layer 2 messaging framework.’” Id. at 3:62-65.
    21           The framework is described “with reference to a Layer 2 Management Entity
    22 (L2ME) architecture and messaging protocol for a digital network.” Id. at 4:21-23.
    23 The L2ME architecture and messaging protocol consists of “a coordinated mesh
    24 network architecture 100 with multiple network nodes 104, 106, 108, 110
    25 connected to a network 102.” Id. at 4:31-33. One of the nodes serves as
    26           a Network Coordinator (NC) that coordinates the communication
                 between the several devices connected to the network. Coordination is
    27
                 achieved by the NC allocating time-slots to network devices during
    28
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     1           which the devices may transmit or receive MAC messages, probes,
     2           and data.

     3 Id. at 4:5-8. The network coordinator node may be “configured with PHY layer
     4 112, MAC sub-layer 113, and an L2ME 116.” Id. at 4:34-35. “The system also
     5 includes a quality of service (QoS) manager 520 connected to a Layer 2
     6 Management Entity (L2ME) 516.” Id. at 3:5-7.
     7           The Patent describes the L2ME and QoS manager in wholly functional terms,
     8 stating that the “L2ME 116 is responsible for executing and managing all L2ME
     9 transactions, such as parameterized Quality of Service, between network nodes 104,
    10 106, 108, and 110.” Id. 4:43-46. “The QoS manager 520 is configured to admit one
    11 or more guaranteed quality of service data flows, e.g., a unidirectional traffic
    12 stream.” Id. at 3:7-9. The job of the QoS manager is to enable the ingress node and
    13 egress node to handle a new data stream. Id. at 17:20-22. Therefore, according to
    14 the specification, it is the L2ME and QoS manager that allow nodes to
    15 communicate in such a way that allegedly solves the problem of competing for
    16 resources within a network without resorting to the prior art solutions of high-level
    17 network controllers and applications. Even though the L2ME and QoS manager are
    18 described as the alleged inventive concepts, the specification fails to provide
    19 anything more than a functional description of each.
    20           B.      The ’422 Patent and Representative Claim 1
    21           Despite the specification’s focus on the L2ME and QoS manager, all of the
    22 claims in the ’422 and ’213 Patents recite only generic network nodes — none of
    23 which are equipped with the L2ME nor the QoS manager. The ’422 Patent claims
    24 disclose nothing more than a network coordinator node communicating with other
    25 nodes in a network to collect and form an aggregated data traffic list. For example,
    26 claim 1, the only claim asserted in the Complaint, recites:
    27           1. A communication network comprising:
    28           a requesting node;
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     1           a Network Coordinator (NC) node; and
     2           a plurality of requested nodes,
     3           wherein:
                 the requesting node is operable to, at least, communicate a first
     4           message to the NC node requesting a list comprising parameterized
     5           quality of service (PQoS) flows of the communication network; and
                 the NC node is operable to, at least:
     6
                 receive the first message from the requesting node; and
     7           in response to the received first message:
     8           communicate a second message to each requested node of the
                 plurality of requested nodes, the second message requesting from said
     9
                 each requested node a list identifying PQoS flows for which said each
    10           requested node is an ingress node;
    11           receive, from said each requested node a respective third message
                 comprising a list identifying PQoS flows for which said each
    12           requested node is an ingress node;
    13           form an aggregated list of PQoS flows comprising each respective list
                 identifying PQoS flows from each received third message; and
    14
                 communicate a fourth message to at least the requesting node
    15           comprising the aggregated list,
    16           wherein the second message specifies a range of PQoS flows being
                 queried.
    17
    18 The QoS manager and an L2ME are not recited in any of the ’422 Patent’s 20
    19 claims. In addition to claim 1, claims 5 and 12-17 are independent. For purposes of
    20 this motion, independent claim 1 is representative of the remaining claims, as all the
    21 claims recite the same subject matter, claim the same abstract idea, and similarly
    22 lack any additional non-conventional hardware. The only difference between
    23 independent claims 1, 5, and 17 is that claim 1 identifies the Network Coordinator
    24 (NC) node by name, while claim 5 merely identifies a generic “communication
    25 network node . . . comprising: at least one module comprising a processor and
    26 memory,” and claim 17’s preamble states that “program code is executed by one or
    27 more processors of a node of a communication network, the node performs a
    28 communication method comprising.” The “NC node” in claim 1, the
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   1 “communication network node” in claim 5, and the “node” in claim 17 all perform
   2 the same recited steps. Claims 12-16 recite the same language as claim 5 except the
   3 final limitation, which describes information contained in one of the messages
   4 between nodes. See ’412 Patent, cl. 5 (“wherein the second message specifies a
   5 range of PQoS flows being queried”); cl. 12 (“wherein the first message specifies a
   6 starting index of a logical table of PQoS flows”); cl. 13 (“wherein the first message
   7 identifies a maximum number of PQoS flows for said requested list comprising
   8 PQoS flows of the communication network”); cl. 14 (“wherein said each respective
   9 third message comprises a value of a respective counter that increments on said
  10 each respective requested node when a logical table of flow IDs on said each
  11 respective requested node changes”); cl. 15 (“wherein said each respective third
  12 message comprises a value indicating a respective number of PQoS flows for which
  13 said each respective requested node is an ingress node”); cl. 16 (“wherein the first
  14 message, second messages, third messages, and fourth message are Layer 2
  15 Management Entity (L2ME) messages”).
  16           C.      The ’213 Patent and Representative Claim 1
  17           The ’213 Patent claims likewise disclose nothing more than a network
  18 coordinator node communicating with other nodes within a network to indicate
  19 their availability to transmit or receive the guaranteed quality of service flow and
  20 allocate resources for a future transmission or—in situations where there are not
  21 enough resources—determine the maximum data rate of transmission available.
  22 ’213 Patent, Abstract. For example, claim 1 of the ’213 Patent recites:
  23           1. A communication method implemented in a Network Coordinator
               (NC) node of a communication network of a premises, the method
  24
               comprising:
  25           broadcasting to a plurality of nodes of the network, a request for a
  26           guaranteed quality of service flow in the network from a source node
               to at least one egress node, the plurality of nodes of the network to
  27           which the NC node broadcasts the request including at least the source
  28           node and the at least one egress node;
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   1           receiving a first response to the request from the source node, wherein
   2           the source node is the point of origin for the purposes of the
               guaranteed quality of service flow for data to be communicated within
   3           the guaranteed quality of service flow, the first response indicating
   4           whether the source node has available resources to support the
               guaranteed quality of service flow;
   5           receiving a second response to the request from the at least one egress
   6           node indicating whether the at least one egress node has available
               resources to support the guaranteed quality of service flow; and
   7
               if the source node and the at least one egress node have available
   8           resources to support the guaranteed quality of service flow, then
   9           allocating resources for the guaranteed quality of service flow;
               if the source node and the at least one egress node do not have
  10           available resources to support the guaranteed quality of service flow,
  11           then:
               denying the guaranteed quality of service flow; and
  12
               if the guaranteed quality of service flow is denied based on
  13           bandwidth-related reasons, then determining a maximum data rate that
  14           would have resulted in a successful request for a guaranteed quality of
               service flow, and transmitting a message comprising information
  15           describing the maximum data rate that would have resulted in a
  16           successful request for a guaranteed quality of service flow.
  17 Although the specification describes the alleged invention as having a QoS manager
  18 and an L2ME, just as in the ’422 Patent, the ’213 Patent claims lack these
  19 components. The ’213 Patent recites 24 claims, of which claims 1, 13, and 23 are
  20 independent. Entropic only asserts claim 1 in its Complaint which is representative,
  21 as all of the claims recite the same subject matter, claim the same abstract idea, and
  22 similarly lack any additional non-conventional hardware. The only differences
  23 between independent claims 1 and 13 are in the preamble, which specifies that
  24 “program code is executed by one or more processors of a Network Coordinator,”
  25 and the second limitation which specifies that the first response relates to
  26 supporting “the guaranteed quality of service flow directly to the at least one egress
  27 node.” These differences are immaterial for a patent eligibility analysis. Likewise,
  28 claim 23 recites a “system” that practices the same method as recited in claim 1.
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   1 III.      LEGAL STANDARD
   2           A.      Motion for Judgment on the Pleadings Under Rule 12(c)
   3           Under Federal Rule of Civil Procedure 12(c), “[a]fter the pleadings are
   4 closed—but early enough not to delay trial—a party may move for judgment on the
   5 pleadings.” Fed. R. Civ. P. 12(c). Judgment under this rule is proper when, taking
   6 all of the pleaded material facts as true, the moving party is entitled to judgment as
   7 a matter of law. Fleming v. Pickard, 581 F.3d 922, 925 (9th Cir. 2009); Lyon v.
   8 Chase Bank USA, N.A., 656 F.3d 877, 883 (9th Cir. 2011). A Rule 12(c) motion
   9 challenges the legal sufficiency of the pleadings, and the standard for judgment
  10 under Rule 12(c) is essentially the same as under Rule 12(b)(6). Chavez v. United
  11 States, 683 F.3d 1102, 1108 (9th Cir. 2012). Like 12(b)(6), judgment is proper
  12 when there is: (1) lack of a cognizable legal theory; or (2) insufficient facts under a
  13 cognizable legal theory. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
  14           Addressing the failure to claim statutory subject matter under 35 U.S.C. §
  15 101 is a question of law that may properly be decided at the pleading stage. In re
  16 Roslin Inst. (Edinburgh), 750 F.3d 1333, 1335 (Fed. Cir. 2014). Indeed, addressing
  17 this issue early in the lawsuit “can spare both litigants and [the] court[] years of
  18 needless litigation.” I/P Engine, Inc. v. AOL Inc., 576 F. App’x 982, 996 (Fed. Cir.
  19 2014). Therefore, courts may decide patent ineligibility under § 101 through a
  20 motion to dismiss or for judgment on the pleadings under 12(c). Kinglite Holdings
  21 Inc. v. Micro-Star Int’l Co., No. CV 14-03009-JVS-(PJWx), 2016 WL 4205356, at
  22 *1 (C.D. Cal. May 26, 2016); see also Secure Mail Sols. LLC v. Universal Wilde,
  23 Inc., 169 F. Supp. 3d 1039, 1045 (C.D. Cal. 2016), aff’d sub nom. Secured Mail
  24 Sols. LLC v. Universal Wilde, Inc., 873 F.3d 905 (Fed. Cir. 2017); Mortg.
  25 Application Techs., LLC v. Meridianlink, Inc., No. SA CV 19-0704-DOC (DFMx),
  26 2020 WL 1000581, at *1 (C.D. Cal. Jan. 6, 2020), aff’d, 839 F. App’x 520 (Fed.
  27 Cir. 2021).
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   1           Where “basic character of the claimed subject matter is readily ascertainable
   2 from the face of the patent,” claim construction is not a prerequisite and ruling at
   3 the pleading stage is appropriate. Wolf v. Capstone Photography, Inc., No. 2:13-
   4 CV-09573, 2014 WL 7639820, at *6 (C.D. Cal. Oct. 28, 2014), see also Content
   5 Extraction & Transmission LLC, 776 F.3d at 1349 (affirming decision to grant
   6 motion to dismiss based on patent-ineligible subject matter under § 101 without
   7 having a claim construction hearing).
   8           B.      Patent-Ineligibility Under 35 U.S.C. § 101
   9           35 U.S.C. § 101 defines patent-eligible subject matter as “any new and useful
  10 process, machine, manufacture, or composition of matter, or any new and useful
  11 improvement thereof.” 35 U.S.C. § 101. Patent protection, however, excludes laws
  12 of nature, physical phenomena, and abstract ideas. Bilski v. Kappos, 461 U.S. 593,
  13 601 (2010). The legal question of patentable subject matter “may be, and frequently
  14 has been, resolved on a Rule 12(b)(6) or (c) motion where the undisputed facts,
  15 considered under the standards required by that Rule, require a holding of
  16 ineligibility under the substantive standards of law.” SAP Am., Inc. v. InvestPic,
  17 LLC, 898 F.3d 1161, 1166 (Fed. Cir. 2018).
  18           “[A]bstract intellectual concepts are not patentable as they are the basic tools
  19 of scientific and technological work.” Bilski, 561 U.S. at 653 (quoting Gottschalk v.
  20 Benson, 409 U.S. 63, 67 (1972)). Accordingly, claims that claim the building
  21 blocks of human ingenuity,” and thus “risk disproportionately tying up the use of
  22 the underlying ideas,” are ineligible. Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 573
  23 U.S. 208, 216-17 (2014).
  24           The Supreme Court has set forth a two-part test for determining whether a
  25 patent is ineligible, and thus invalid under § 101: “(1) it is ‘directed to’ a patent-
  26 ineligible concept, i.e., a law of nature, natural phenomenon, or abstract idea, and
  27 (2), if so, the particular elements of the claim, considered ‘both individually and as
  28 an ordered combination,’ do not add enough to ‘transform the nature of the claim’
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   1 into a patent-eligible application.’” Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d
   2 1350, 1353 (Fed. Cir. 2016) (quoting Alice, 573 U.S. at 217).
   3                 1.     Step One
   4           The first step of the Alice framework is to determine whether the patent
   5 claims are “‘directed to’ a patent-ineligible concept, i.e., a law of nature, natural
   6 phenomenon, or abstract idea.” Elec. Power Grp., 830 F.3d at 1353. This first step
   7 is to “look[] at the ‘focus’ of the claims, their ‘character as a whole.’” Id. The
   8 Supreme Court made clear that abstract ideas, even if new, are still abstract. Alice,
   9 573 U.S. at 217. For instance, in Parker v. Flook, the Supreme Court held that a
  10 method for updating alarm limits that used a mathematical formula in a catalytic
  11 conversion process was a patent-ineligible abstract idea. 437 U.S. 584, 594-95
  12 (1978). In Electric Power Group, the Federal Circuit held that “collecting
  13 information, analyzing it, and displaying certain results of the collection and
  14 analysis” was an abstract idea. Elec. Power Grp., 830 F.3d at 1353. Moreover, “[i]t
  15 is well established that transmitting and receiving data is an abstract idea.” Maxell,
  16 Ltd. v. VIZIO, Inc., No. CV 21-6758-GW-DFMx, 2023 WL 3431898, at *7 (C.D.
  17 Cal. Apr. 19, 2023) (citing buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355
  18 (Fed. Cir. 2014); see also Dropbox, Inc. v. Synchronoss Techs., Inc., 815 F. App’x
  19 529, 537 (Fed. Cir. 2020) (finding the claims directed to “‘[f]ormatting’ data,
  20 ‘tagging’ data, ‘transmitting’ data, and ‘retrieving’ data” were abstract).
  21           Critically, a patent “will not be sustained if the claim is for a result,” because
  22 a result, without more, is not an invention. Fuller v. Yentzer, 94 U.S. 288, 288
  23 (1876). Rather, an invention “consists in the means or apparatus by which the result
  24 is obtained.” Id. More than a century ago, the Supreme Court invalidated Samuel
  25 Morse’s claim to “electro-magnetism, however developed” because it would
  26 impermissibly grant “the exclusive right to every improvement . . . it matters not by
  27 what process or machinery the result is accomplished.” O’Reilly v. Morse, 56 U.S.
  28 62, 62, 112-113 (1853); see also Halliburton Oil Well Cementing Co. v. Walker,
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   1 329 U.S. 1, 9 (1946) (invalidating functional claims because they described the
   2 invention “in terms of what it will do, rather than in terms of its own physical
   3 characteristics.”). Therefore, at the patent eligibility phase, “the claim itself ‘must
   4 identify “how” th[e] functional result is achieved by limiting the claim scope to
   5 structures specified at some level of concreteness, in the case of a product claim, or
   6 to concrete action, in the case of a method claim.’” Free Stream Media Corp. v.
   7 Alphonso Inc., 996 F.3d 1355, 1363 (Fed. Cir. May 11, 2021) (quoting Am. Axle &
   8 Mfg., Inc. v. Neapco Holdings LLC, 967 F.3d 1285, 1302 (Fed. Cir. 2020)). Even if
   9 the specification sufficiently discloses how the functional result is achieved, if the
  10 claims fail to identify the how, then they “nonetheless do not recite an improvement
  11 in computer functionality.” Id. at 1364. Thus, references to concepts in the patent
  12 specification that are not recited in the claims are not enough to transform an
  13 abstract idea into patent eligible subject matter because “[t]he § 101 inquiry must
  14 focus on the language of the Asserted Claims themselves.” Synopsys, Inc. v. Mentor
  15 Graphics Corp., 839 F.3d 1138, 1149 (Fed. Cir. 2016); see also Windy City
  16 Innovations, LLC v. Facebook, Inc., 411 F. Supp. 3d 886, 902 (N.D. Cal. 2019)
  17 (finding arguments for inventive concept at step two failed because, “though Windy
  18 City cites to portions of the specification in search of an inventive concept, Claim
  19 19 itself does not describe . . . nor does it explain [those concepts]”).
  20           “Ultimately, ‘[t]he § 101 inquiry must focus on the language of the Asserted
  21 Claims themselves,’ and the specification cannot be used to import details from the
  22 specification if those details are not claimed.” ChargePoint, Inc. v. SemaConnect,
  23 920 F.3d 759, 769 (Fed. Cir. 2019) (quoting Synopsys, 839 F.3d at 1149). Even
  24 “complex details from the specification cannot save a claim directed to an abstract
  25 idea that recites generic computer parts.” Id.
  26                 2.    Step Two
  27           The second step of the Alice framework is to “search for an ‘inventive
  28 concept’—i.e., an element or combination of elements that is ‘sufficient to ensure
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   1 that the patent in practice amounts to significantly more than a patent upon the
   2 ineligible concept itself.’” Alice, 573 U.S. at 217-18 (quoting Mayo Collaborative
   3 Services v. Prometheus Lab’ys, Inc., 566 U.S. 66, 73 (2012)). It is fundamental that
   4 for this inquiry, the court must look at the invention recited in the claims, rather
   5 than the additional details provided in the specification. Id. The claim must include
   6 additional features to ensure that it is more than a drafting effort designed to
   7 monopolize the abstract idea. Id. Therefore, “[s]tating an abstract idea while adding
   8 the words ‘apply it with a computer’ simply combines those two steps, with the
   9 same deficient result.” Id. For a claim reciting an abstract idea to nonetheless be
  10 patent-eligible, the claim must incorporate the abstract idea into an unconventional,
  11 technological improvement in the “physical realm.” Id.
  12           Step two of the Alice framework must evaluate the claim elements as an
  13 ordered combination because “an inventive concept can be found in the non-
  14 conventional and non-generic arrangement of known, conventional pieces.”
  15 Bascom Glob. Internet Servs., Inc. v. AT&T Mobility LLC, 827 F.3d 1341, 1350
  16 (Fed. Cir. 2016). Indeed, this district has previously held, “generic steps of
  17 receiving, transmitting, and displaying information performed in an order anyone
  18 would expect” are not enough to be an inventive concept. BlackBerry Ltd. v.
  19 Facebook, Inc., 487 F. Supp. 3d 870, 908 (C.D. Cal. 2019), aff’d, 831 F. App’x 502
  20 (Fed. Cir. 2020).
  21 IV.       ARGUMENT
  22           A.      The ’422 Patent’s Claims Are Patent Ineligible
  23           The ’422 Patent claims patent ineligible subject matter under § 101. The
  24 claims are directed to the abstract idea of forming an aggregated data traffic list by
  25 requesting and receiving information from nodes within a network about scheduled
  26 data transmissions. Additionally, the claims merely recite the use of generic
  27 computer equipment for networking, failing to amount to significantly more than
  28 the abstract idea itself.
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   1           Claim construction is not necessary at this stage to hold that the ’422 Patent
   2 claims are patent ineligible.1 The “basic character” of the claimed subject matter “is
   3 readily ascertainable from the face of the patent.” See Wolf, 2014 WL 7639820, at
   4 *6. The ’422 Patent claims recite routine steps—sending and receiving information
   5 about scheduled data transmissions, forming an aggregated list of those scheduled
   6 transmissions, and then sending that aggregated list; therefore, it is not necessary to
   7 construe any terms in the ’422 Patent at the pleading stage.
   8                 1.    Step One
   9           The ’422 Patent claims are directed to the abstract idea of forming an
  10 aggregated data traffic list by requesting and receiving information from nodes
  11 within a network about scheduled data transmissions. As stated above, under step
  12 one, the Court must examine the “‘focus of the claimed advance over the prior art’
  13 to determine if the claim’s ‘character as a whole’ is directed to excluded subject
  14 matter.” Intell. Ventures I LLC v. Cap. One Fin. Corp., 850 F.3d 1332, 1338 (Fed.
  15 Cir. 2017) (citation omitted).
  16           Independent claims 1, 5, and 12-17 of the ’422 Patent all recite the same
  17 basic steps: (1) receiving a first message from a requesting node regarding
  18 scheduled data transmissions; (2) sending a second message to requested nodes
  19 regarding scheduled data transmissions; (3) receiving responses from the requested
  20 nodes regarding scheduled data transmissions; (4) forming an aggregated list
  21 regarding the scheduled data transmissions; and (5) sending the list back to the
  22 requesting node. In short, the claims recite communicating between network nodes
  23 to collect information regarding data transmissions, aggregating the collected
  24 information into a list, and sending the list to a node in the network.
  25           The Federal Circuit has repeatedly invalidated claims directed to similar
  26 ideas. For example, in Electric Power Group, the court held that “[t]hough lengthy
  27
       1
      Entropic identified no claim construction issues concerning this contemplated
  28 motion during the parties’ required meet and confer.
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   1 and numerous, the claims do not go beyond requiring the collection, analysis, and
   2 display of available information in a particular field.” Elec. Power Grp., 830 F.3d at
   3 1351. Specifically, those claims recited collecting data (“receiving a plurality of
   4 data streams . . ., receiving data from other power system data sources”), analyzing
   5 the data (“detecting and analyzing events in real-time from the plurality of data
   6 streams”), displaying results of the analysis (“displaying the event analysis results
   7 and diagnoses of events . . ., displaying concurrent visualization of measurements”),
   8 and “deriving a composite indicator of reliability.” Id. at 1351-1352. Accordingly,
   9 the court found that “we have treated collecting information, including when
  10 limited to particular content (which does not change its character as information), as
  11 within the realm of abstract ideas” and “merely presenting the results of abstract
  12 processes of collecting and analyzing information, without more (such as
  13 identifying a particular tool for presentation), is abstract as an ancillary part of such
  14 collection and analysis.” Id. at 1353-54.
  15           The claims in the ’422 Patent are analogous to those in Electric Power Group
  16 and are thus directed to a similar abstract idea. For example, they perform the same
  17 steps of collecting data (“communicate a first message to the NC node requesting a
  18 list comprising parameterized quality of service (PQoS) flows . . . second message
  19 requesting from said each requested node a list identifying PqoS flows . . . third
  20 message comprising a list identifying PqoS flows”), analyzing the data (“form an
  21 aggregated list of PqoS flows”), and displaying the results (“fourth message to at
  22 least the requesting node comprising the aggregated list”). ’422 Patent, cl. 1.
  23           Similarly, in Clarilogic the court held that “a method for collection, analysis,
  24 and generation of information reports, where the claims are not limited to how the
  25 collected information is analyzed or reformed, is the height of abstraction.”
  26 Clarilogic, Inc. v. FormFree Holdings Corp., 681 F. App’x 950, 954 (Fed. Cir.
  27 2017) (non-precedential). Accordingly, the court found claim 1 abstract because it
  28 “compris[ed] the steps of receiving a request, electronically collecting financial
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   1 data, transforming the data into a desired format, validating the data by ‘applying an
   2 algorithm engine,’ analyzing certain exceptions, and generating a report.” Id.
   3 (citation omitted). The ’422 Patent claims, like those in Clarilogic, recite an
   4 abstract idea consisting of collecting information from other nodes, aggregating the
   5 information into a list, and sending the list to a node in the network.
   6           Moreover, the ’422 Patent claims do not even recite analyzing the data like
   7 the claims in Electric Power Group and Clarilogic, but instead recite merely
   8 aggregating the data into a list. The absence of the analyzing function, an abstract
   9 concept itself, drives these claims even further towards abstractness; courts
  10 consistently hold that aggregating data is abstract. See iLife Techs., Inc. v. Nintendo
  11 of Am., Inc., 839 App’x 534, 536 (Fed. Cir. 2021) (“We have routinely held that
  12 claims directed to gathering and processing data are directed to an abstract idea.”);
  13 HealthTrio, LLC v. Aetna, Inc., No. 12-cv-03229-REB-MJW, 2015 WL 4005985,
  14 at *3 (D. Colo. June 17, 2015), report and recommendation adopted, No. 12-cv-
  15 03229-REB-MJW, 2015 WL 5675303 (D. Colo. Sept. 28, 2015), aff’d, 673 F.
  16 App’x 1006 (Fed. Cir. 2017) (finding that “collecting and organizing information
  17 into a single record” from various sources is abstract).
  18           Futhermore, “[i]t is well established that transmitting and receiving data is an
  19 abstract idea.” Maxell, 2023 WL 3431898, at *7 (citing buySAFE, 765 F.3d at
  20 1355); see also W. View Res., LLC v. Audi AG, 685 F. App’x 923 (Fed. Cir. 2017)
  21 (non-precedential) (holding that the claims were directed to the abstract idea of
  22 “receiving or collecting data queries, analyzing the data query, retrieving and
  23 processing the information constituting a response to the initial data query, and
  24 generating a visual or audio response to the initial data query”). Therefore, the ’422
  25 Patent claims are directed to an abstract idea similar to those that courts have
  26 consistently found as patent-ineligible.
  27           In addition to the “focus” of the ’422 Patent claims being directed to an
  28 abstract idea, the claims also fail to provide enough specificity as to how the recited
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   1 steps are performed. In other words, the claims fail to describe how the result of the
   2 more efficient network is achieved. At the patent eligibility phase, “the claim itself
   3 ‘must identify “how” th[e] functional result is achieved by limiting the claim scope
   4 to structures specified at some level of concreteness, in the case of a product claim,
   5 or to concrete action, in the case of a method claim.’” Free Stream Media, 996 F.3d
   6 at 1363 (quoting Am. Axle & Mfg., 967 F.3d at 1302). Even if the specification
   7 sufficiently discloses how the functional result is achieved, if the claims fail to
   8 identify the how, then they “nonetheless do not recite an improvement in computer
   9 functionality.” Id. at 1364.
  10           In the ’422 Patent, claim 1 recites the functional results of “communicate”
  11 and “receive” messages, however it fails to recite how the messages are
  12 communicated or received. ’422 Patent, claim 1 (“the requesting node is operable
  13 to, at least, communicate a first message to the NC node,” “communicate a second
  14 message to each requested node,” “receive, from said each requested node a
  15 respective third message,” and “communicate a fourth message to at least the
  16 requesting node.”). The specification discloses that an “L2ME 116 is responsible
  17 for executing and managing all L2ME transactions, such as parameterized Quality
  18 of Service.” ’213 Patent, 4:44-46. Further, “a quality of service (QoS) manager 520
  19 [is] connected to a Layer 2 Management Entity (L2ME) 516. The QoS manager 520
  20 is configured to admit one or more guaranteed quality of service data flows.” Id. at
  21 2:66-3:12. Therefore, according to the specification’s purely functional description
  22 of the L2ME and QoS manager, the L2ME and the QoS manager are responsible
  23 for how the nodes communicate in the allegedly novel low-level messaging
  24 framework in order to achieve a better management of resources within the
  25 network. However, the asserted claims do not include the L2ME or QoS manager.
  26           Entropic may attempt to distinguish Claim 16, which states that the “first
  27 message, second messages, third messages, and fourth message are Layer 2
  28 Management Entity (L2ME) messages.” However, this still does not address how
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   1 the messages are communicated. Indeed, the specification even states that “a node
   2 not configured with an L2ME may receive an L2ME message.” ’213 Patent, 6:54-
   3 55. Moreover, Claim 16 fails to recite the presence of a QoS manager.
   4           Additionally, because the ’422 Patent claims fail to provide enough
   5 specificity about how the recited steps are performed, the patent, if held valid,
   6 would preempt the simple and abstract idea of forming an aggregated data traffic
   7 list by requesting and receiving information about scheduled data transmissions
   8 from nodes within a network. For example, the steps described in the claims are not
   9 limited to the “low-level messaging framework” with an L2ME and QoS manager
  10 that the specification touts as being the improvement over the prior art; therefore,
  11 the claims cover the same steps performed over the higher-level layers of a network
  12 or over a low-level without an L2ME and QoS manager. ’213 Patent, 3:46-65.
  13 Indeed, the specification describes prior art solutions as “involving a high-level
  14 network controller or having high-level applications.” Id. at 2:4-6. Additionally, the
  15 claims are not limited to a cable network. See also, id. at 16:19-12 (the method may
  16 be implemented over “a coordinated network including a coaxial network in
  17 accordance with the MoCA standards, a mesh network, or a wireless network.”).
  18           Therefore, under step one of the Alice framework, the ’422 Patent claims are
  19 directed to an abstract idea as a matter of law. Specifically, the abstract idea of
  20 forming an aggregated data traffic list by requesting and receiving information from
  21 nodes within a network about scheduled data transmissions.
  22                 2.    Step Two
  23           At step two of the Alice framework, the Court must “scrutinize the claim
  24 elements more microscopically” to determine if they “require any nonconventional
  25 computer, network, or display components, or even a ‘non-conventional and non-
  26 generic arrangement of known, conventional pieces.’” Elec. Power Grp., 830 F.3d
  27 at 1354-55 (quoting Bascom Global Internet Servs., 827 F.3d at 1349-52). This
  28 district has similarly stated that “[i]t is well-settled that mere recitation of concrete,
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   1 tangible components is insufficient to confer patent eligibility to an otherwise
   2 abstract idea . . . . ‘Rather, the components must involve more than performance of
   3 well-understood, routine, conventional activities previously known to the
   4 industry.’” Maxell, 2023 WL 3431898, at *6 (quoting In re TLI Commc’ns LLC
   5 Pat. Litig., 823 F.3d 607, 613).
   6           Here, the ’422 Patent claims do not recite any inventive concept. Instead,
   7 they describe an abstract process accomplished by generic computer equipment for
   8 networking. This generic computer equipment includes nothing more than “nodes”
   9 of various names: “requesting node,” “Network Coordinator (NC) node,” and
  10 “requested nodes.” These “nodes” are similar to the “communications controller”
  11 described as “purely functional and generic” in Alice. Alice, 573 U.S. at 226.
  12 Indeed, the Supreme Court explained that “[n]early every computer will include a
  13 ‘communications controller’ and ‘data storage unit’ capable of performing the basic
  14 calculation, storage, and transmission functions required by the method claims.” Id.
  15 (emphasis added). As a result, none of the hardware recited by the system claims
  16 “offers a meaningful limitation beyond generally linking ‘the use of the [method] to
  17 a particular technological environment,’ that is, implementation via computers.” Id.
  18 (quoting Bilski, 561 U.S. at 610-611); see also Software Rights Archive, LLC v.
  19 Facebook, Inc., 485 F. Supp. 3d 1096, 1105, No. 12-cv-03970-HSG, at *8 (N.D.
  20 Cal. Sept. 9, 2020) (granting motion for judgment on the pleadings on § 101
  21 grounds where the “claims fail to detail how to achieve these results from a
  22 technological perspective, or to establish that any specific technology is required.
  23 They instead provide general detail about collecting and analyzing the information
  24 on conventional computers.”). Moreover, the claims in the ’422 Patent “do not even
  25 require a new source or type of information, or new techniques for analyzing it.”
  26 See Elec. Power Grp., 830 F.3d at 1355. “As a result, they do not require an
  27 arguably inventive set of components or methods, such as measurement devices or
  28 techniques, that would generate new data.” Id. In fact, the specification confirms
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   1 that “[t]he present disclosed method and apparatus may also be embodied in the
   2 form of computer program code” and “implemented on a general-purpose
   3 processor.” ’213 Patent, 38:66-39:6.
   4           As described above in step one, the claims fail to include the allegedly
   5 inventive concept of an L2ME and QoS manager, which the specification describes
   6 in purely functional terms as part of a node in the network. ’213 Patent, 4:44-46
   7 (“L2ME 116 is responsible for executing and managing all L2ME transactions,
   8 such as parameterized Quality of Service”); Id. at 2:66-3:12 (“a quality of service
   9 (QoS) manager 520 [is] connected to a Layer 2 Management Entity (L2ME) 516.
  10 The QoS manager 520 is configured to admit one or more guaranteed quality of
  11 service data flows”). Despite the specification describing the functions of the L2ME
  12 and the QoS manager, the ’422 Patent claims are devoid of these alleged aspects of
  13 the solution. Even if they had been claimed, they are not, the L2ME and QoS
  14 manager suffer the same inadequacies for § 101 purposes as the issued claims
  15 because the specification fails to describe any details of how the claimed functions
  16 are performed. Therefore, the claims relate to nothing more than an abstract idea
  17 performed over a conventional network.
  18           Additionally, the ordered combination of claim elements in the ’422 Patent
  19 claims does not lend itself to patentability. The communication of information
  20 between nodes, the aggregation of that information, and the sending of the
  21 aggregated information to a node is not a sufficient combination to reveal an
  22 inventive step. Indeed, if a node needed to determine the transmission schedules of
  23 other nodes in a network, it is only logical that the request would precede the
  24 response. See BlackBerry Ltd., 487 F. Supp. 3d at 908 (holding that the “generic
  25 steps of receiving, transmitting, and displaying information performed in an order
  26 anyone would expect” is not enough to be an inventive concept.). Even assuming
  27 the specification’s description of the functions of the L2ME and QoS manager were
  28
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   1 to provide a meaningful limitation, which they do not, the claims fail to recite the
   2 L2ME or QoS manager. See Maxell, 2023 WL 3431898, at *7.
   3           The dependent claims of the ’422 Patent also fail to recite any additional
   4 limitations that create patent eligible subject matter. For example, claims 2, 6, and
   5 18 merely recite the “communication network is a premises-based communication
   6 network.” ’422 Patent, cls. 2, 6, 18. This does not change the analysis above that
   7 the claims recite conventional activities on generic computer equipment. Likewise,
   8 claims 3, 8, and 9 limit the contents of the second message to at least specifying a
   9 “starting index” in claim 8 and a “starting index and a maximum number” in claims
  10 3 and 9. ’422 Patent, cls. 3, 8, 9. These limitations, which relate to the contents of
  11 the second message, do nothing to remedy the fact that the claims fail to recite how
  12 the messages are communicated. Claims 4, 10, 19, and 20 similarly fail to recite
  13 how the messages are communicated, and instead merely add a limitation as to the
  14 contents of the third message. Claim 7 suffers the same fate, as it merely adds a
  15 limitation as to the contents of the first message. Claim 11 recites that the “module
  16 is operable to communicate the fourth message to a plurality of nodes.” ’422 Patent,
  17 cl. 11. As with the other dependent claims, claim 11 does not claim details
  18 regarding how the nodes communicate. Therefore, the dependent claims of the ’422
  19 Patent, like the independent claims, do not recite an inventive concept.
  20           Because the ’422 Patent claims are directed to an abstract idea and do not
  21 contain anything more to confer an inventive concept, they are invalid under § 101
  22 for being directed to patent ineligible subject matter.
  23           B.      The ’213 Patent’s Claims are Patent Ineligible
  24           The ’213 Patent claims also recite patent ineligible subject matter under §
  25 101. The claims are directed to the abstract idea of requesting and receiving
  26 information from nodes in a network to verify their availability to provide resources
  27 for transmission of data within the network, and if available, allocating resources
  28 for the data transmission, but if unavailable, calculating and transmitting the
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   1 maximum data rate. Additionally, the claims merely recite the use of generic
   2 computer equipment for networking, failing to amount to significantly more than
   3 the abstract idea itself.
   4           Claim construction is not necessary at this stage to hold that the ’213 Patent
   5 claims are patent ineligible. The “basic character” of the claimed subject matter of
   6 the ’213 Patent “is readily ascertainable from the face of the patent.” See Wolf,
   7 2014 WL 7639820, at *6. The claims describe sending and receiving messages
   8 about scheduled data transmissions, analyzing those messages, and relaying the
   9 analysis back to the nodes; therefore, construing any of the terms in the ’213 Patent
  10 claims is not necessary for the purposes of the § 101 analysis.
  11                 1.     Step One
  12           Independent claims 1, 13, and 23 all recite the general steps of: (1)
  13 broadcasting a request for a guaranteed quality of service flow to nodes within a
  14 network, i.e., a data transmission; (2) receiving a response from a source node
  15 indicating its availability; (3) receiving a response from an egress node indicating
  16 its availability; and (4) allocating resources for the data transmission if both nodes
  17 have availability, or, if the nodes are unavailable due to bandwidth limitations,
  18 determining and transmitting the maximum data rate that would have resulted in
  19 successful transmission. The ’213 Patent claims essentially contain no more than
  20 transmitting and receiving messages regarding bandwidth capacity among network
  21 nodes, analyzing those messages, and relaying the analysis back to the nodes.
  22           Just as in the ’422 Patent, the ’213 Patent claims recite sending and receiving
  23 messages and data between network nodes. Where the two differ is in what happens
  24 after receiving the responses. While the NC node in the ’422 Patent claims
  25 aggregates the responses, the NC node in the ’213 Patent either (a) allocates
  26 resources for the transmission, or (b) declines to allocate resources and transmits a
  27 message indicating the data rate that would have resulted in a successful
  28 transmission. This difference is trivial, as both are directed to abstract ideas.
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   1           The analysis of the ’213 Patent claims is analogous to Electric Power Group.
   2 In Electric Power Group, the court found the claims directed to an abstract idea
   3 because “[t]he focus of the asserted claims . . . [was] on collecting information,
   4 analyzing it, and displaying certain results of the collection and analysis.” 830 F.3d
   5 at 1353. Like “collecting information” in Electric Power Group, the NC node in the
   6 ’213 Patent claims, collects information about bandwidth availability of other
   7 nodes. Then, the NC node analyzes the responses from the other nodes about their
   8 availability and either (a) allocates resources for transmissions, or (b) denies
   9 transmissions and sends a message indicating the best available data rate. This
  10 analysis by the NC node is the same as “analyzing it [] and displaying certain
  11 results of the collection and analysis” in Electric Power Group.
  12           Prism Technologies is also analogous. There, “the asserted claims [we]re
  13 directed to an abstract process that includes: (1) receiving identity data from a
  14 device with a request for access to resources; (2) confirming the authenticity of the
  15 identity data associated with that device; (3) determining whether the device
  16 identified is authorized to access the resources requested; and (4) if authorized,
  17 permitting access to the requested resources.” Prism Techs. LLC v. T-Mobile USA,
  18 Inc., 696 F. App’x 1014, 1017 (Fed. Cir. 2017). The ’213 Patent claims similarly
  19 recite a request for access to resources (i.e., request for a guaranteed quality of
  20 service flow), require a confirmation of information (i.e., availability of nodes),
  21 determination of authorized access to the resources (i.e., analysis of whether
  22 resources needed for the guaranteed quality of service flow are available), and
  23 permitting access to the requested resources (i.e., allocating resources for the
  24 guaranteed quality of service flow). Therefore, the ’213 Patent claims recite an
  25 abstract idea, very similar to those that courts have consistently found as patent-
  26 ineligible. See also, Trinity Info Media, LLC v. Covalent, Inc., 562 F. Supp. 3d 770,
  27 782 (C.D. Cal. 2021) (“the Federal Circuit has found that analyzing and comparing
  28 data—such as against a predetermined threshold—is also an abstract idea.”);
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   1 OpenTV v. Netflix, Inc., 76 F. Supp. 3d 866, at 890, 894 (N.D. Cal. Dec. 16, 2014)
   2 (finding claims directed to the abstract idea of “ensuring that the necessary
   3 resources are available before commencing a presentation that requires those
   4 resources.”); Maxell, 2023 WL 3431898, at *7 (“[i]t is well established that
   5 transmitting and receiving data is an abstract idea.”).
   6           The ’213 Patent claims also fail to recite how the result of a more efficient
   7 network is achieved. See Free Stream Media, 996 F.3d at 1363 (quoting Am. Axle
   8 & Mfg., 967 F.3d at 1302 (“the claim itself ‘must identify “how” th[e] functional
   9 result is achieved by limiting the claim scope to structures specified at some level
  10 of concreteness.’”). The ’213 Patent claims the functional language of
  11 “broadcasting” and “receiving” messages, but fail to recite how the messages are
  12 broadcasted or received. The ’213 Patent claims also recite “allocating resources”
  13 and “determining a maximum data rate,” but fail to recite how the resources are
  14 allocated or the maximum data rate is determined. As discussed above, according to
  15 the specification, the L2ME and the QoS manager are respectively responsible for
  16 how the nodes communicate messages and admit flows in the allegedly novel low-
  17 level messaging framework, but the ’213 Patent claims do not include any mention
  18 of the L2ME or QoS manager. Thus, the ’213 Patent claims do not even arguably
  19 recite an improvement in computer functionality.
  20           If the ’213 Patent claims are held valid, they would monopolize the concept
  21 of requesting and receiving information from nodes in a network regarding
  22 bandwidth available for transmission and, depending on the response, either
  23 allocating resources needed for the transmission or transmitting information about
  24 the best available data rate. For example, the steps described in the ’213 Patent
  25 claims are not limited to the “low-level messaging framework” with an L2ME and
  26 QoS manager that the specification touts as being the improvement over the prior
  27 art, and therefore the claims cover the same steps performed over the higher-level
  28 layers of a network or lower-level without an L2ME and QoS manager. ’213 Patent,
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   1 3:46-65. Indeed, the specification describes prior art solutions as “involving a high-
   2 level network controller or having high-level applications.” Id. at 2:4-6.
   3           Therefore, under step one of the Alice framework, the ’213 Patent claims are
   4 directed to an abstract idea as a matter of law. Specifically, the abstract idea of
   5 requesting and receiving information from nodes in a network to verify their
   6 availability to provide resources for a data transmission within the network, and if
   7 available, allocating resources for the data transmission, but if unavailable,
   8 calculating and transmitting the maximum data rate.
   9                 2.    Step Two
  10           At step two of the Alice framework, the ’213 Patent claims fail to recite an
  11 inventive concept that is “sufficient to remove the claims from the class of subject
  12 matter ineligible for patenting.” Elec. Power Grp., 830 F.3d at 1354.
  13           The ’213 Patent claims do not recite any inventive concept. Instead, they
  14 describe an abstract process accomplished by generic computer equipment for
  15 networking. For instance, the specification states that “[t]he present disclosed
  16 method and apparatus may also be embodied in the form of computer program
  17 code” and “implemented on a general-purpose processor.” ’213 Patent, 38:66-39:6.
  18 This generic computer equipment, as specified in the claims, includes nothing more
  19 than “nodes” of various names: “Network Coordinator (NC) node,” “source node,”
  20 and “egress node.” These “nodes” are similar to the “communications controller”
  21 described as “purely functional and generic” in Alice. Alice, 573 U.S. at 226
  22 (“[n]early every computer will include a ‘communications controller’ and ‘data
  23 storage unit’ capable of performing the basic calculation, storage, and transmission
  24 functions required by the method claims.”); see also Software Rights Archive, LLC
  25 v. Facebook, Inc., 485 F. Supp. 3d at 1105.
  26           The claims in the ’213 Patent are similar to those in Electric Power Group,
  27 as they “do not even require a new source or type of information, or new techniques
  28 for analyzing it.” Elec. Power Grp., 830 F.3d at 1355. “As a result, they do not
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   1 require an arguably inventive set of components or methods, such as measurement
   2 devices or techniques, that would generate new data.” Id.
   3           As described above in step one, the claims fail to include the allegedly
   4 inventive concept of an L2ME and QoS manager. See ’213 Patent, 4:44-46 (“L2ME
   5 116 is responsible for executing and managing all L2ME transactions, such as
   6 parameterized Quality of Service”); id. at 2:66-3:12 (“a quality of service (QoS)
   7 manager 520 [is] connected to a Layer 2 Management Entity (L2ME) 516. The QoS
   8 manager 520 is configured to admit one or more guaranteed quality of service data
   9 flows”). Despite the specification describing the functions of the L2ME and the
  10 QoS manager, the ’213 Patent claims lack these allegedly critical components.
  11 Therefore, the claims relate to nothing more than an abstract idea performed over a
  12 conventional network.
  13           The ordered combination of claim elements also fails to save the ’213 Patent
  14 claims from their recitation of an abstract idea. The communication between nodes
  15 in order to exchange information, analyze that information, and then determine
  16 whether resources are available for a successful transmission is not a sufficient
  17 combination to reveal an inventive step. Indeed, if a node needed to transmit a data
  18 stream with a minimum effective data rate, checking on data rate availability in
  19 advance is the logical order of steps to do so. See BlackBerry Ltd., 487 F. Supp. 3d
  20 at 908 (holding that the “generic steps of receiving, transmitting, and displaying
  21 information performed in an order anyone would expect” is not enough to be an
  22 inventive concept.). Even if the specification’s statements about the functions of the
  23 L2ME and QoS manager were to provide a meaningful limitation and confer an
  24 inventive concept, which they do not, the claims fail to recite the L2ME or QoS
  25 manager. See Maxell, 2023 WL 3431898, at *7.
  26           The dependent claims of the ’213 Patent also fail to recite any additional
  27 limitations that create patent eligible subject matter. For example, claims 2, 14, and
  28 24 simply add an additional “Submit message” limitation and limit the location of
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   1 the network to “a network of a home.” Claims 4 and 22 limit the network to a
   2 “coaxial cable-based network,” which is simply generic networking equipment.
   3 Claims 5-9, and 16-18 merely add limitations related to the content of certain
   4 messages. Claims 10 and 19 add an additional message indicating when a flow has
   5 been accepted. Claims 11 and 20 further limit claims 10 and 19 with the additional
   6 limitation of communicating the maximum data rate when a flow has been denied.
   7 Claims 12 and 21 further limit claims 11 and 20 by providing that if the message
   8 relays that the flow is admitted, then allocating resources. All of the dependent
   9 claims, like the independent claims, contain conventional steps that may be
  10 accomplished on generic computer equipment. The specification admits as much.
  11 See ’213 Patent, 38:57-66 (“The present disclosed method and apparatus may also
  12 be embodied in the form of computer program code . . ., wherein, when the
  13 computer program code is loaded into and executed by a computer, the computer
  14 becomes an apparatus for practicing the disclosed method and system.”). The
  15 dependent claims also fail to provide how the messages are communicated, how the
  16 resources are allocated, and how the maximum data rate is determined.
  17           Because the ’213 Patent claims are directed to an abstract idea and do not
  18 contain anything more to confer an inventive concept, they are invalid under § 101
  19 for being directed to patent ineligible subject matter.
  20 V.        CONCLUSION
  21           For the reasons stated above, this Court should hold that the claims of the
  22 ’422 and ’213 Patents are invalid under 35 U.S.C. § 101 for claiming patent-
  23 ineligible subject matter because both patents claim abstract ideas without adding
  24 substantial inventive concepts. Cox therefore requests that its Motion for Judgment
  25 on the Pleadings be granted.
  26
  27
  28
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